     Case 2:10-cr-00223-JAM-KJN Document 410 Filed 08/09/13 Page 1 of 1


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 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                   )
11   UNITED STATES OF AMERICA,                     )    Case No. 2:10-CR-0223-JAM
                                                   )
12                                                 )    REQUEST TO SEAL DOCUMENTS
                           Plaintiff,              )    ORDER
13                                                 )
             vs.                                   )
14                                                 )
     HODA SAMUEL, et al.,                          )
15                                                 )
                           Defendants.             )
16                                                 )
                                                   )
17
             Scott L. Tedmon, counsel for defendant Hoda Samuel, requested to seal
18

19   documents described in the Notice to Request to Seal Documents filed on August 8,

20   2013, and served on the government. The documents requested to be sealed are:
21
             1. Medical records from Kaiser Permanente Medical Group
22           2. Medical records from Carlton Senior Living

23           Good cause appearing, the above-listed documents are to be filed under seal
24
     and are to remain under seal unless later order unsealed by the Court.
25
     IT IS SO ORDERED.
26
     DATED: August 9, 2013                    /s/ John A. Mendez___________________
27
                                              JOHN A. MENDEZ
28                                            UNITED STATES DISTRICT COURT JUDGE



     Request to Seal Documents [Proposed Order]                        Case No. CR S 10-223 JAM
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